EXHIBIT D-l

 

 

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To: Andy Parnes
From: Thomas J. Nolan
RE: Hinkson Post Tria|
Date: 1/31/05

Andy,

l've been thinking about this case 24 hours aiday since it went to the jury. | have a
number of thoughts l want to get them off my chest and into your hands so that l

can start thinking about something else.

lt’s actually very complicated The verdict creates a lot of issues. First of a|l, |’d like
to have it very much solidified that you are taking over the case regarding post-trial
motions and the sentencing of both the tax and solicitation cases because l think
that you need to be the captain of this operation until it gets resolved. l think l can
play an important role in it, and hopefully the client will still want me to play an
important ro|e. lt really needs your skills to get this thing under cohtro|. l think you
should get a retainer so that you feel comfortable you are going to get paid. Not that
there has been any real problem with me. l have to get my bill together l know
money is a little tight, but they have been really good about money so far.

Obvious|y it comes down to Swisher. l really don't feel that a very‘good investigation
was done of Swisher. l thought that they would do a much better investigation l
think the investigators dropped the ball. l heard from Wes at one point that the
investigator promised to get the request for the military records. l don't think they
ever did a request to determine whether Swisher had law suits. There was just very,

very little done'on Swisher. l think one of the weaknesses or possible vulnerabilities

l

 

was able to establish the facts through FBl Agent l\/|artin. .l don't think the Court
would have necessarily done anything. lt was too subtle of an issue at that point. We
should send a letter to the prosecutor reiterating and talking about how | think they
have an additional duty to come forward with_ anything they know about Swisher’s
credibility, did know, or any impeachment they had.

Another problem you’re going to have is getting the military records. The judge never
gave us a copy of them because he was concerned about publicity and privacy. He
did let me take them out of the courtroom for an evening. But l didn't look at them. l
made my decision without looking at them. They are an exhibit. |’m fairly confident
that the Court will give them to you to review. Let me tell you a few things l
remember about them. Other than the letter and the false document, they looked
fairly ordinary. There was an indication he was injured when he was in Washington. l
believe his rifleman proficiencies were not all experts, even though he said he fired
expert They might have been. He was demoted from corporal to PFC. We don't
know on what grounds he was demoted. lt was an Artic|e 115 criminal violation.
They were actually very bland and very ordinary. There's not much l can say about
them other than they certainly didn't look like they involved any kind of secrecy. l
think that had we had them either self authenticated or somebody Who knew about
military records, things might have been handled differently l still kick myself for not
going after him and cross examining him. l’rn reworking it in my mind of how l could
do it different|y. l also realize he was a very, very difficult Witness. He could just say
anything at anytime without much of a concern. He is clearly somebody who really
doesn't care about the oath, in my opinion. Once you have a chance to review his
materials and his testimony, you will get some idea of that. He was hard to pin down

and some ways charming.

Another random thought We should look at the sentencing guidelines and see what
we can do about doing a full workup, maybe having Jim Missett or Paul Berg or
somebody do a real complete workup. Dr. Doyt was fine, but he really isn’t a forensic

psychiatrist - very weak. l like him. l would certainly send somebody to him for

We need an investigation of Swisher by a good investigator | think one investigator '
ought to ContrO| it. | think it should be well thought out as to who you have clothe
investigation I think possibly Be||on will be the weak link. l\/laybe he will come

forward and admit that Swisher had an economic interest in WaterOz_ which could

make a big difference.

The other thing that l think is very significantl and yet l haven’t looked at it, is that in
the closing argument, the prosecutor, knowing that the evidence of Swisher’s
testimony was only relevant and only pertained to what he told Hinkson his
background was in terms of military and killing people and not to what his
background actually was, said that “David Hinkson knew that Swisher had killed
people." l objected. | think that it was inappropriate for him to use the word knew. l
think knew means that it is true that he was;rather than he said he was. l\/laybe |’m
wrong, but |think that that’s the term; l think that was asking thejury to assume a
fact not in evidence that Swisher was a military veteran who had killed people in
combat. l don't know whether that’s enough or not.

That’s enough for my thoughts right now. P|ease feel free to share this memo with
anybody Please try to solidify your relationship over the case as soon as possible if
you’re interested | very much appreciate you getting me involved in this case. lt was
a real pleasure to work with Wes and the Hinksons. l don't think the battle is over

yet.

rd

 

 

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To: Andy Parnes and Wes Hoytf
From: Thomas J. Nolan €
RE: Socia| History

Date: 2/2/05

Andy and Wes,

l think we have to pay a lot of attention to 18 U.S.C. 3661 in that there’s no limitation
placed on the information concerning the background, character and conduct of a
person convicted of an offense for the purpose of opposing appropriate sentencel
This would encourage me to consider hiring a person to assist Andy in doing a full
social history with psychological tests and psychiatric evidence to help us in this

CaSe.

rd

 

 

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To: Hinkson Fi|e

From: Thomas J. No|an z

RE: Hinkson Post-Trial Thoughtsi Part 2
Date: February 11, 2005 `

 

Basical|y the conviction rests on the credibility of Swisher, and in particular on a
particular statement l think, that Swisher made, which was that David pled with him
to kill these people. | think that because they acquitted him of the Swisher counts
that did not have that statement. They hung up on Harding - l believe because of
the issue of the money And yet, in Hardinng case, they had two witnesses talking
about money, but they obviously showed inconsistency |n the Swisher count,
though, it was the one where he said that he pled with him, and so the behavior with
Harding... Anyway, l just feel that it comes down to - they had to believe Swisher
beyond a reasonable doubt as to that one statement. lf it hadn’t been for that one
statement, there would have been an acquittal with Swisher.

Now maybe ~l’m wrong because | got confus§ed on the three counts, but it basically
means that the credibility of Swisher is'the ltey to the entire case. Our inability to
attack his credibility by impeaching him with collateral matters, which the prosecution
pays a lot of attention to, and which is basically a rule that is rarely adopted - in this

particular case, ..

Anyway, | think the Government has information, and l think they had information at
the time they got that document in the morning showing his military records. l think
they came up with a letter that they may have had on the same day, but |’m
confused, where there is an indication that that record was false. l may be confused

- on the dates, but looking at the taxing - we’ie talking about the 13th and 14‘h of

 

January, before... well basica||y, the day Swisher took the stand, |’m pretty sure |
think the letter was faxed to them on the 13‘l’. l think that their Brady obligations
increase substantially as a result of it all coming down to Swisher. l think that it
makes any kind of Brady violation prejudicial because it all comes down to Swisher.
One of the problems is that the judge might jagree, but if he gives us a new trial on
Swisher, then he’l| definitely let the Government retry on Harding on the counts that
the jury hung up on. We don't yet know that l am aware of what the count is', but you
can tell me after l do this dissertation if you l:<no'w what the count'was. And that
jeopardizes - that means a whole new tria|, 5a whole new expense, and the chance
of him being convicted of two separate individuals soliciting, which could
substantially increase the sentence But, the Court, l think, made errors in restricting
our examination and not making efforts to get the military records. | think the more

fruitful area, however, is with the prosecutors and what they know.

|’m concerned about something, though, and that is - | think that because it all
hinges on the credibility of Swisher and because we did not do a particularly good
job of investigating Swisher, l believe that we hired investigators that were going to
do the kind of investigation... l remember Wes and l talking to them about what they
were going to do and they didn't do it. And they didn't follow through with the military
records. l then made a tactical decision which may not have been the right tactical
decision. l think that somebody, in looking at a new trial motion, should be free to
challenge both Wes’s and my competency iii terms of how we handled the
preparation and investigation and examination of Swisher. Now, l don't think Wes
and l fell below the standard of care l think we did meet the standard of care, but |
think that David should have an opportunity §to challenge that, to at least present that
to the Court and have the Court make that decision - that we’re not the ones to
make the decision as to whether we met the standard of care because we have a
conflict in that. That’s one of the reasons why | really, real|y, really think that
responsibility for the new trial motion and sentencing should be taken away from
both Wes and me and given to Andy l also: think that we should try to figure out
how we can use the psychological evaluation to effect the sentence under the post-

l

Boo/<ersituation. l have a good article l can send to both of you on that. Also, who
do we hire as an investigator? l think we have to hire a completely different
independent investigator to go after Swisher to see what we can dig up in terms of
new evidence |’m afraid that much of what we can dig up is stuff that we could have
dug up before trlal, so it goes to ineffective;assistance of counsel, unless we can
break through the conspiracy of the people who were taking over WaterOz and get
some testimony that there was a financial interest for Swisher at that time

Anyway, these are my thoughts. l feel very strongly about them. l’l| get them typed
up and send them to everybody '

End of memo.

TJN/|m

 

Nolart, Arrrtstro_ng 8 Barton, LLP
THOMAS l. NOLAN \ MICHAEL W. ;ARMSTRONG \ DANlEL L. dARTON
NlCOLE M. RYAN;:\ DlANE DE SEVE -

February 14, 2005

Wes Hoyt
333 W. Hampden Ave., Suite 500
Eng|ewood, CO 80110-2335

David Hinkson

c/o Wes Hoyt

333 W. Hampden Ave., Suite 500
Eng|ewood, CO 80110-2335

Roland Hinkson
P.O. Box 5
Ouray, Colorado 81427

Dear Wes, David and Roland,

l am writing this letter because both Wes and l represent David and Fioland has
been assisting Wes in this case

'This letter is attorney-client confidential and§ should not be revealed to anyone
Without David Hinkson’s permission.

l have tried since the day of the verdict and lnon verdict to take advantage of the
opportunity to extricate David from this situation. | think there is real hope to have
some significant positive benefits come from what has occurred.

| have made it very clear this will not happen unless you rely upon a very
experienced criminal practitioner, someone who is intimately familiar with federal
criminal law and procedure and the complexity and difficulties that this case
presents

l am sorry to say that both Wes and Fto|and§ got the idea that l want Wes removed as
attorney for David. That is not the case l also fully acknowledge that l am not the
best person to do this work. There are peop:le far better than l am-at this kind of
work. lt is a very complex area of the |aw.

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Wes Hoyt

David Hinkson
Ftoland Hinkson
February 14, 2005
Page 2 of 3

l do, however, believe that | have the respect of the judge and the court staff in this
matter and can play an important role if that¢is your desire | cannot play that role
unless Wes gives up the primary responsibility for the motion for new trial and the
sentencing in this and the tax matters.

l truly believe that Wes is a very fine lawyer and an incredibly hard worker. He is
very dedicated to David’s case and very knowledgeable on all the facts in this
matter. However, Wes is not capable of doing the job that is necessary at this point
in time He has too many responsibilities regarding David, his family and the
company He has too little experience in federal criminal practice |n some ways, he
is too close to the client .

At the present time, l am still on the payroll earning $400 an hour pursuant to the fee
agreement lf you want to end that, l suggest we immediately file a substitution of
attorney so that l can withdraw as counsel for l\/lr. Hinkson. You can still proceed
with having a new lawyer come in and be responsible for the motion for new trial and
sentencing When l say responsible l wanth make it clear that Wes would be
signing, along with that lawyer, the pleadings. Wes would be the attorney of record
for lvlr. Hinkson. lt doesn’t change any of that lt does, however, put someone else in
the position of being the quarterback of the motion for new trial and the sentencing

This is essentia|, in my opinion. z

l have said this on many occasions | have put it in memorandums. l attach my
thoughts on sentencing for your benefit l a|s__o attach to this letter a copy of an article
on the post Booker situation that will be involved in the sentencing issue. |
encourage and hope that you do some of the things that | suggest, but l don’t have
confidence that they will be done unless Wes allows someone to come in who can
do the job in this matter. '

l ve sent the bill to all of you. l ve detailed it out. |’m a little concerned because the
last time l spoke with Wes he started to make statements that indicated he was less
than willing to meet the obligations that have been made in this matter. l expect the
obligations that have been made to be fulfilled. l would be more than happy to cease
putting in additional time on this matter as quickly as possible We should resolve
the 1ssue by agreeing to a figure that | am owed and figuring out a way to assure the
payment of that in a reasonable manner. '

l am not saying or doing these things because | have any hostile feeling towards
either of you. lt has been a real pleasure to Work with you. lt is a very difficult
situation that l came into with very little time for preparation. l think Wes Was let
down by the investigators in this matter. l have tremendous respect for all three of
you. '

 

Wes Hoyt

David Hinkson
Fioland Hinkson
February 14, 2005
Page 3 of 3

l think that if you were to look up the way in which l\/lr. Quatrone was treated in Ne'w
.York by a federal judge, you might get some idea of the range of mistreatment that
can occur in federal courts with federal judges.

l think that focusing on recusing the judge or government misconduct at this point as
being the problem is short sited. l think there are a number of problems. l\/lany of
them do involve the government not getting us information and material that could
be very beneficial. l think with a good competent post-trial federal criminal
practitioner that you will be quite surprised at what can be discovered

There simply is not going to be enough time_; lt has been over two weeks since l first
raised this issue. The phone call was promised for Friday. To the best of my
knowledge, that phone call never took place`§, No decision has been made. No drafts
have been circulated There has been no attempt to plan and strategize in a
meaningful way As far as l am concerned it is leading to disaster for David.

l have made my position clear. l would like to get this resolved as soon as possible
so that l do not continue to incur additional expense for David and that l don’t, by my
presence create a problem for David’s new trial or sentencing

Very truly yours,

~`

Thomas J. mn

TJN/rd
Encls.
cc: Andy Parnes

 

EXHIBIT D-Z

 

EXHIBIT D-3

 

Aflidavit of C`rregory Towerton

State of Idaho )

SS.

)

I, Gregory W. 'Towerton, the Affiant,
Stites Road, Grangeville, Idaho~ 83530 a resi

County of Idaho

General Manager of WaterOz, located_aI-1'753

ent of Idaho 'County, Idaho, being over the age

of 18 years and competent to testify, according to my own personal knowledge, upon oath,»

state under penalty of perjury pursuant to 28
l. l married Marda Marie Hinkson June 29 '
Mat_thew Hinkson, son ofDavidR, Hinkson
Ukraine immediately before the We'dding set

2. Afcer we were married and on or about Ju
husband) took all of their children on a mont
California. They called us as they returned tc
2002 and invited us, and my children who w
and meet them to participate in a waterpark e

3. I took Maric and my children to Boise, Idz
children played in the Waterpark facilitates l
in Grangeville, Idaho on the night of July 31

 

4. By the evening ofAugust 1, 2002, David
me at our home in Grangeville.

5. Early m the morning of August 2, 2002,
for the day at Dworshack Reservoir near Or

6. I learned that David was set to leave early the next morning, Augus

l ad returned his children

D|avid picked up his childr
fmo. David returned his

at the reservoir to my home m Grangeville b the middle of the evenii

USC §1746 as follower

13002 attcrl moved from Washington, State.
and David Hinkson, returned from their trip to
that Matthew could serve as an usher '

ne 30, 2002, David R. Hinkson (Marie S first
h long driving vacation to Colorado, Nevada and

Boise, Idaho approximately the last day of .Tlilly

are living with me at the timc, to come t_o Boise
xperience. 1

iho on or about July 31, 2002 and Watched as the

drove Marie and my children back to our home
2002,

to 1ive with Marie and
en to take them beating

children from their d:ay
tg 011 Augusl; 2, 2002§.

 

t 3, 2002 on a busine§ss

trip that would last about th1 ee months The lrst leg of that ]ou'rney was to Venezuela. l

knew that the children would not see their

d
so much time with them m July and reiround;k:l

for several months so that having him spend
e first and second of August was justified as~: §far

as the sharing ofvisitation time between M tie and David was oonccmed As long as my§
wife approved of that atrangement, it was ft c with mc; and she did. 7

7. We heard from David periodically as he as in faraway places like Russia or the Ukrame

and he did not return to Idaho County until

e first of November 2002

8. I learned that there had been a raid by some Federal Government agencies at David-is
house near his WaterOz factory on November 21, 2002. David was charged and then

released on his own recognizance at that time

Affidavit of Gregory W. Towetton - Page l

 

9. David was in Idaho County and available to visithis children at Thanksgiving and
Christmas 2002, although l am aware'that he went to a health conference in Southern
California in early Deeember and was gone for about a Week.

10. I learned that David was again arrested aird put in jail in early April 2003 over a question
of violation of conditions of his pretrial-release

ll. In the spring of 2003, I received a phone call from David when he was calling his
children to have phone visitation with them romjail. He asked me if I would be interested in
working for WaterOz. I explained that l had a good job with the Idaho County Sheriff’ s
Office with pension benefits etc., and so I w uld have to take a serious look at the
opportunity at WaterOz to make it work for e. He invited me to go out to the factory on my
day off and check it out. He said l could spe to_ Jeri Gray,,the manager.

 

`_l"h_

12. I had a further telephone discussion with avid in mid-Iune 2003 and he referred me to
his attorney at the time, Mr. Britt Groom, of Grangeville, Idaho, who agreed to answer some
specific questions regarding WaterOz. I set . appointment and traveled over to Mr.
Grooin’s office for that purpose by early Jul 2003.

13. At that appointment with Mr. Groom, a 'chard Bellon, paralegal working for David
Hinkson, also attended.

14. Shortly atterl arrived, I heard shouting in the reception area of Mr. Grooms office and
then saw the man who was'yelling, who was later identified to me as Joe Swisher. Mr.
Swisher, who appeared to be somewhat disab led, was enraged because he said David
Hinkson owed him $10,000 that he claimed had not been paid and he Was yelling at the
receptionist insisting that this bill had to be p aid right then. It became clearithat the bill he
was talking about was a past due amount he said was payable by WaterOz; Mr. Swisher was
very upset and said that if Mr. Hinkson did not pay the billhe, Mr. Swisher, would
personally go to Boise and testify against him and see that he spent the rest of his life in
prison. l did not meet Mr. Swisher at that time as I felt he was too agitated to have a rational

conversation with me, or anyone else.

 

15. From my years of training as an investigator in law enforcement for the US Government
and as a deputy for the Idaho County Sher"ift’ll Oftice, I could see that Mr. :Swisher was using
extortion tactics, threatening great harm in oriier to obtain some financial objective If
investigated, this conduct by Mr. Swisher wa either extortion or blackmail.

l6. l would have reported the threats to the Gi(angeville PD except Mr. Groom, the attorney
for Mr. Hinkson and Mr. Bellon, the paralegal for Mr. Hinkson both assured me that they
would take care of it and that there was some mistake and Mr. Hinkson did not owe the
amount which Mr. Swisher claimed and I Wai assured that the attorney for§ Mr. Hinkson

would handle it.

Aft`idavit of Gregory W. Towerton - Page 2 i

 

 

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l7. Mr. Hinkson had been continuously asking me to go to work for him at WaterOz each
time he called to speak to his children. By 'd-August 2003, I decided to take a look at what
the job Would entail and I Went to WaterOz alrid talked to Jeri Gray and other employees
Based on my observations I decided to take lT]r. Hinkson up on his offer to work for him at
Water()z .

18. September l, 2003, I accepted a position lwith WaterOz as a- manager of plant production
and left the Idaho County Sherift’s Ofi`ice. 11 mid-S eptember, at the factory, when he was
preparing to act as an expert witness for Mr. ' inkson, I met Mr. Swisher who was walking
very slowly and needed to rest often during h s tour of the WaterOz facility (Mr. Swisher
stated he had severe arthritis and was still no fully recovered from his heart surgery).
During this visit Mr. Swisher stated that he h d been injured while in the Marines and
serving in the Korean war. I was informed byi Jeri Gray that he still demanded payment of a
bill of about $5,000 that he claimed was past ue. I was told that the bill was for WaterOz
product testing to comply with labeling requi§ements of the FDA and had been paid
previously Alter Swisher’s visit to WaterOz _ learned that he claimed I had frisked him
during the visit; which was a false accusation!by Mr. Swisher.

19. lt was about mid-September that I began to hear from Mr. Bellon that he had an
agreement to be partners with David in the WiaterOz business When I spoke to David about
the idea of Mr. Bellon having a partnership interest in WaterOz, David denied it saying that
Mr. Bellon was trying to take his business from him. I learned that Messers Bellon and
Swisher each were attempting to get half the ' usiness from David. David said that he had
not signed any documents-giving any interest to anyone, especially Messers Bellon and

Swisher.

20. In late September 2003 went to a hearing Boise at the Federal Court as an observer
Which hearing was handled by attorney Groo and Mr. Bellon and Mr. Swisher were also
present l was told that Mr. Swisher was to bd paid $5,000 to be an expert witness for David
Hinkson at that hearing. The hearing related t the validity of the WaterOz product labeling.
During his testimony Mr. Swisher again state under oath he was disabled from injuries he
received as a Marine While serving in the Korean war and that Was why he had to have
questions repeated several times as he Was alsio hearing impaired from a grenade blast. After
the hearing, Mr. Swisher was paid $5,000.

2l. By December 2003, Messers Bellon and ?wisher, aided by Mr. Groom, and
accompanied by Idaho County Sheriffs offices took over WaterOz. By December 3, 2003 I
was served with a Temporary Restraining Or`jer by Mr. Swisher and immediately forced to
leave the factory along with Jeri Gray and se eral other employees loyal to David. With
David’s permission, attorney, Mr. Wesley W. xHoyt was hired who went to court, got the
TRO vacated and arranged for the return of cdntrol of WaterOz to me and the other
representatives who had been designated by David to run his business

22. At one point I learned that Swisher billed iNaterOz for over $5,000.00 in charges that
were not owed, some of which had been billed previously and paid. I also learned that Mr.

Afiidavit of Gregory W. Towerton - Page 3 §

 

Swisher billed WaterOz $12,000 for the purc
Machine that David did not agree to purchas
ICP machine. Subsequently., I learned that at
which Mr. Swisher was trying _to sell to Davi

 

23. Until his visit in mid~Sept_ember_,_ I becair
WaterOz since he had been harmed by Mr.

has_e of an outdated Atomic Absorption.or AA
e because WaterOZ had already purchased an
third party claimed he owned the AA Machine
d. `Thi_s~bill~ was disputed and never paid.

e aware that Swisher would not come inside
inkson in January 2003. However, Mr Swisher

periodically stopped by to pick up minerals hich were taken out to his vehicle and delivered

to him. This was based on an arrangement h '

 

24. §Afcer Mr. Swisher Was defeated in his
new scheme to extort property from David
lawsuit, demanding the payment of $500, 00
three story office building, 20 acres belund t

items were demanded :by Mr. Swisher in the ,

without any of these items being transferred

 
 
 

25. In his.t_estimony on Ianuary 14_, 2005 in
claimed that Hinkson considered him -to be
demonstration of such friendship Hinkson`h

property: (l) $500,000.00 in cash; (2) a thre _

had made with Jeri Gray.

cover attempt with Mr. Bellon, he developed a
volving the filing of a counterclaim m the TRO
and delivery of title to property including a
e factory and a Road Patrol road grader. These
0 lawsuit, which claims Were resolved
o Mr. Swisher.

_e Solicitation trial against David, Swisher
`S “best.friend” and alleged that as a
d- given him the following items of valuable
»story office building that was under

construction and nearly finished, Which Swi her claimed Hinkson said he “didn’t need” (a
building Hinkson was constructing as a call enter fcr telephone sales and marketing
personnel); (3) a “Road Patrol” road grader Giinkson did not'own a Road Patrol grader)-;
and:(4) Twenty 20 acres of real property behind the Wate__rOz~factory (there was»only a steep

canyon behind the factory.) From my invest
Swisher but were sti=ll.‘i'n Mr. Hinkson"s name, so

items of property had not been given to Mr .
that these statements were untrue, but served
think there was a close relationship between

26. During my association with David, I saw

gation of these matters l determined that these

Mr. Swisher’s plan'_to cause the jury to falsely
David and,Swisher.

no evidence that there had ever been a

 

“friendship” between them. What I saw was
Swisher had not delivered accurate reports o
Mr. Swisher toward David is found in the ho
seven days in early December 2003. 'Messer
convince the Idaho Distr-ict Court Judge_ that
void in management detrimental .to the busin

  
 
 

27. In order to obtain the TRO, Swisher and
described business-related calamities so sev,
an ex-parte TRO seizing possession of 'Wate
Swisher portrayed as certain disaster affectin
When Swisher had achieved his goal-of obtai
to David and declared himself the CEO of W

Affidavit of Gregory W. Towerton - Page 4

a business relationship that failed because Mr.
1 WaterOz products E_vidence of hostility by
tile takeover of WaterOz (by TRO) that lasted
Swisher and Bellon were working together to
'nkson’s absence from- WaterOz had created a
ss.

small groupof co-'conspirators fraudulently

e that the trial court'was willing to» give them
Oz in order to “save” the company from what
g over 30 Idaho County jobs at the factory.
ning the TRO, he dismissed all employees loyal
aterOz.

 

 

28. Under Swisher’s TRO and seven day management of WaterOz, valuable assets of the
company were stolen including customer lists and trade secrets belonging to Mr. Hinkson’s
business, which valuable property rights were passed on to competitors I learned that as
soon as the TRO was entered, Mr. Bellon immediately called Dan Vaughn, a business broker
and demanded that WaterOz be listed for sale.

Further Aff`iant sayeth naught.

I declare under penalty of perjury that the foregoing is correct this [_§ day of April

Gregory 3 Towerton

2012.

Affidavit of Gregory W. Towerton - Page 5

 

 

David R. Hinkson, #08795-023
USP Atwater

U.S. Penitentiary

P.O. Box 019001

Atwater, California 95301

In Propria Persona

UNlTED STATES DlSTRlCT COURT DlSTRlCT CF lDAHC

 

UNlTED sTATEs oF AMERICA ) ease #: 1104-cr-00127_RcT-1
)
Piainiiff, )
) DEFENDANT HiNKs oN’s MEMORANDUM
vs ) 1N sUPPoRT or GROUND FIVE; LACK or
) JURISDICTIoN, As rs HEREBY APPENDED
David R. Hinkson, ) To HiNi<:soN’sMoTloN To vAcATE THE
) coNvichoN AND sENTENCE UNDER
Defendant ) sECTIoN 2255, TITLE 28 Usc
)
)

 

COMES NOW David R. Hinkson, by and through his own hand and hereby submits this
MEMORANDUM REGARDING GROUND FIVE: LACK OF JURISDICTION, IN SUPPORT OF
MOTION TO VACATE CONVICTION AND SENTENCE UNDER 28 U.S.C. §2255.

For the reasons set forth below in this Memorandum ln Support of Defendant Hinson’s
Motion to Vacate the Conviction and Sentence under 28 U.S.C. §2255 the conviction and judgment

must be vacated and the indictment dismissed.

Memorandum in Support of Hinkson 2255
Ground Five: Lack of Jurisdiction -l-

 

SUBJECT MATTER JURISDICTION
l. INSUFFICIENCY OF INDICTMENT TO ALLEGE A CRIME.

The subject indictment fails to contain the mandatory allegation that the acts constituting the
charged law-violations occurred within the “sp ecial and maritime territorial jurisdiction of the United
States” as an element of the crime. Lacking this mandatory element, the government did not have
jurisdiction to prosecute and the court did not have jurisdiction to adjudicate this matter.

It is well established that defects in subject matter jurisdiction may be raised at anytime
Mtchell v. Maurer, 293 U.S. 237, 244 (1934); 13 C. Wright, A. Miller & E. Cooper, Federal
Practice &Procedure § 3522 (2“d ed. 1984). Fed.R.Crim.P. 12gb )§2 j provides in relevant part that
“lack of jurisdiction, or the failure of the indictment or information to charge an offense, shall be
noticed by the court at any time.” 1

ln order for an indictment to be sufficient it must include all elements of the charge. The
mandate of “inclusion of all elements derives from the Fifth Arnendment, which requires that the
grand jury have considered and found all elements to be present.” - United States v. Hooker, 841
F.2d 1225, 1230 (4“‘ Cir.l988) (en banc). [Italics added].

Further,

“. . .and of paramount importance, a sufficient indictment is required to implement the Fifth

 

l From the NOTES OF ADVISORY COMMITTEE ON RULES:
Note to Subdivision (b)(l) and (2). These two paragraphs classify into two groups all objections and defenses
to be interposed by motion prescribed by Rule 12(a). In one group are defenses and objections which must be
raised by motion, failure to do so constituting a waiver. In the other group are defenses and objections which
at the defendant’s option may be raised by motion, failure to do so, however, not constituting a waiver. (Cf.
Rule 12 of Federal Rules of Civil Procedure [28 U.S.C., Appendix].)

In the first of these groups are included all defenses and objections that are based on defects in the institution
of the prosecution or in the indictment and information, other than lack of jurisdiction or failure to charge an

offense.

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And,

Amendment guaranty and make clear the charges so as to limit a defendant’s jeopardy to
offenses charged by a group of his fellow citizens, and to avoid his conviction on facts not
found, or perhaps not even presented to, the grand jury that indicted him.” ~ United States
v. Radetsky, 535 F.2d 556, 562 (10th Cir.), cert. denied, 429 U.S. 820, 97 S.Ct. 68, 50 L.Ed.2d
81 (1976), overruled in part on other grounds by United States v. Daily, 921 F.2d 994, 1004
&n. 11 (10th Cir.l990); see Russell v. UnitedStates, 369 U.S. 749, 770, 82 S.Ct. 103 8, 1050,
8 L.Ed.2d 240 (1962).

It is true that where there is a post-verdict challenge to an indictment asserting the absence
of an element of the offense, it has been held the indictment will be sufficient if it contains
“words of similar import” to the element in question. United States v. Vogt, 910 F.2d 1184,
1201 (4'h Cir.l990), cert. denied, 498 U.S. 1083, lll S.Ct. 955, 112 L.Ed.2d 1043 (1991).
See generally United States v. Mason, 440 F.2d 1293, 1296-97 (10th Cir.), cert. denied, 404
U.S. 883, 92 S.Ct. 219, 30 L.Ed.2d 165 (1971). “Upon a proceeding after verdict at least,
no prejudice being shown, it is enough that the necessary facts appear in any form, or by fair
construction can be found within the terms of the indictment.” Hagner v. United States, 285
U.S. 427, 433, 52 S.Ct. 417, 420, 76 L.Ed. 861 (1932). However, we have considered the
language of the indictment here and there is no wording of similar import to the requirement
that the proscribed acts be committed ” within the special maritime and territorial
jurisdiction of the United States. ~ U.S. v. Brown, 995 F.2d 1493, 1505 (C.A.lO (Okla.),
1993).

Although some other defenses and objections based on defects in an indictment are waived

by failure to raise them before trial, lack of subj ect matter jurisdiction is never waived and thus, may

be raised at any time. See Pon v. U.S., 168 F.2d 373, 374 (lst Cir. 1948); Sewell v. U.S., 406 F.2d

1289, 1292 (8“‘ Cir. 1969).

“In sum, we are convinced that we must notice the critical omission of this essential element
from the indictment handed down by the grand jury. Therefore, the conviction and sentence
on Count 4 must be vacated.” - Brown at 1505.

INSUFFICIENCY OF PROOF OF CRIME AT TRIAL - TERRITORIAL
JURISDICTION MUST BE PROVEN AT TRIAL.

“The final and more troublesome challenge to the convictions is Burj an’s contention that the
government failed to establish that the trial court had jurisdiction because it did not show
that the charged offenses were committed in the Canal Zone. lt is unimportant, of course,
that this point is raised for the first time on appeal, as an attack on the subject matter
jurisdiction of the trial court may be raised at any stage. F.R.Cr.P. 12.” - Government of the
Canal Zone v. Burjan, 596 F.2d 690, 693 (5“' Cir 1979). [Bolding added]

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3. THE GOVERNMENT HAS THE BURDEN TO PROVE TERRITORIAL
JURISDICTION.

“ * * * “(i)t is axiomatic that the prosecution must always prove territorial jurisdiction over
a crime in order to sustain a conviction therefor,” United States v. Benson, supra, at 481, “the
standard of proof (on this element) is more relaxed than for other elements of a criminal
prosecution. It is necessary only that the location of criminal activity be established by a

preponderance of the evidence . . . .” United States v. Luton, 486 F.2d 1021, 1023 (5"‘ Cir.
1974).” - Burjan at 694.

While the standard of proof may be somewhat relaxed, nonetheless the government must
allege the element of territorial jurisdiction in the indictment and prove it as a part of its case or the
case must be dismissed for lack of jurisdiction

F.R.Crim.P. 52 provides: “(b) Plain Error. A plain error that affects substantial rights may
be considered even though it was not brought to the court’s attention In this instant matter it was
plain error when the trial court failed to “notice” the lack of territorial jurisdiction.

4. JURISDICTION OF FEDERAL COURTS, IN GENERAL

There are no common-law offenses against the United States; see United States v. Hudson,
7 Cranch (ll U.S.) 32 (1813); United States v. Coolz'dge, l Wheat. (14 U.S.) 415 (1816); United
States v. Britton, 108 U.S. 199, 206, 2 S.Ct. 531, 535 (1883);Manchester v. Massachusetts, 139 U.S.
240, 262-63, 11 S.Ct. 559, 564 (1891); UnitedState.s' v. Eaton, 144 U.S. 677, 687, 12 S.Ct. 764, 767
(1892); United States v. Flores, 289 U.S. 137, 151, 53 S.Ct. 580, 582 (1933).

“Courts of the [common law] kind were not created by the Constitution, nor does the

Constitution invest them with any criminal jurisdiction Even the powers of an express

character given to Congress upon the subject embrace only a limited class of well-known

offences. Congress may provide for the punishment of counterfeiting the securities and
current coin of the United States, and may pass laws to define and punish piracies and
felonies committed on the high seas, and offences against the law of nations. Treason is

defined by the Constitution, but it has never been decided that the offender could be tried and
punished for the offence until some court is vested with the power by an act of Congress.”

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“Implied power in Congress to pass laws to define and punish offences is also derived from
the constitutional grant to Congress to declare war, to raise and support armies, to provide
and maintain a navy, and to make rules for the land and naval forces, and to provide for
organizing, arming, and disciplining the militia and for governing such parts of them as may
be employed in the public service. Like implied authority is also vested in Congress from
the power conferred to exercise exclusive jurisdiction over places purchased by the consent
of the legislature of the State in which the same shall be, for the erection of forts, magazines,
arsenals, dockyards, and other needful buildings, and from the clause empowering Congress
to pass all laws which shall be necessary and proper for carrying into execution the foregoing
powers, and all other powers vested by the Constitution in the government of the United
States, or any department or officer thereof`.” - United States v. Hall, 98 U.S. 343, 345-46
(1 879).

ln addition the US Supreme Court has found that:
“Although the constitution contains no grant, general or specific, to congress of the power
to provide for the punishment of crimes, except piracies and felonies on the high seas,
offenses against the laws of nations, treason and counterfeiting the securities and current coin
of the United States, no one doubts the power of congress to provide for the punishment of
all crimes and offenses against the United States, whether committed within one of the states
of the Union or within territory over which congress has plenary and exclusive

jurisdiction.” - Logan v. United States, 144 U.S. 263, 12 S.Ct. 617 (1892). [Bolding
added.]

5. AGREEMENT AMONG THE CIRCUITS
“It is axiomatic that the prosecution must always prove territorial jurisdiction over a
crime in order to sustain a conviction therefor.” - United States v. Benson, 495 F.2d 475
(5'h Cir., 1974) [Bolding added]
Only when jurisdiction is proven are convictions sustained. In two Sixth Circuit cases,
United States v. Tucker, 122 F. 518 (W.D.Ky. 1903), a case involving an assault committed at a
federal dam, and United States v. Blunt, 558 F.2d 1245 (6"‘ Cir. 1977), a case involving an assault

within a federal penitentiary, iurisdiction was sustained only by finding that the U.S. owned the

property in question and that the state involved had ceded jurisdictionz In United States v.

 

Other cases cited herein are relevant to this same proposition: that jurisdiction, once challenged, required the
(continued...)

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Johnson, 426 F.2d 1112 (7nl Cir. 1970), a case involving a federal burglary prosecution, federal
jurisdiction was sustained upon the showing of U.S. ownership and cession. In contrast, when
jurisdiction is not established the case fails. In re Kelly, 71 F. 545 (E.D.Wis. 1895), a federal assault
charge Was dismissed when the court held that the state cession statute in question was not adequate
to convey jurisdiction of the property in question to the United States. Cases from the Eighth and
Tenth Circuits likewise require the Same elements to be shown to demonstrate the presence of federal
jurisdiction; see United States v. Heard, 270 F.Supp. 198 (W.D.Mo. 1967); United States v.
Redstone, 488 F.2d 300 (8th Cir. 1973); United States v. Going.s', 504 F.2d 809 (8"‘ Cir. 1974)
(demonstrating loss of jurisdiction); Haye.s' v. United States, 367 F.2d 216 (10‘h Cir. 1966); United
States v. Carter, 430 F.2d 1278 (10'h Cir. 1970); Hall v. United States, 404 F.2d 1367 (10'h Cir.
1969); and United States v. Cassidy, 571 F.2d 534 (10th Cir. 1978).

Of all the circuits, courts in the Ninth Circuit have addressed jurisdictional issues more than
any of the others. In United States v. Baz‘eman, 34 F. 86 (N.D.Cal. 1888), it was determined that the
United States did not have jurisdiction to prosecute for a murder committed at the Presidio because
Califomia had never ceded jurisdiction; see also United States v. Tully, 140 F. 899 (D.Mon. 1905).
But later, Califomia ceded jurisdiction for the Presidio to the United States, and it Was held in United
States v. Watkins, 22 F.2d 437 (N.D.Cal. 1927), that ceding jurisdiction enabled the U.S. to maintain
a murder prosecution; see also United States v. Holt, 168 F. 141 (W.D.Wash. 1909), United States
v. Lewis, 253 F. 469 (S.D.Cal. 1918), and United States v. Wurtzbarger, 276 F. 753 (D.Or. 1921).

Because the U.S. owned and the state had ceded jurisdiction over Fort Douglas in Utah, it was held

 

2 (...continued)

government to prove the territorial jurisdiction to sustain the conviction

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that the U.S. had jurisdiction for a rape prosecution in Rogers v. Squier, 157 F.2d 948 (9'h Cir. 1946).
But, without a cession, the U.S. has no jurisdiction; see Arizona v. Manypenny, 445 F.Supp. 1123
(D.Ariz. 1977). By direct implication, therefore, we see that proof of jurisdiction is a mandatory
element in federal prosecutions of this nature, else there would never be a need to allege and show
it to sustain a conviction.

6. TERRITORIAL JURISDICTION NOT SUBJECT TO DISPUTE

Mr. Hinkson requests the Court take J udicial Notice, without limitation, of the Report of the
Interdepartmental Committee for the Study of J urisdiction Over F ederal Areas Within the States, Part
1 and Part 2 , April 1956 and 1957 (40 U.S.C. § 255 and 50 U.S.C. § 175 amended to 40 U.S.C.
§ 3111 and § 3112) often referred to as the “Eisenhower Report” which shows the historical basis
of, and myriad decisions regarding federal jurisdiction, all of which agree on this point.

See United States v. Gabrion, 517 F.3d 839 (6nl Cir., 2008) for an example (just one of
literally hundreds of cases) of a properly drawn indictment which correctly alleges the jurisdiction
under Section 1111 of Title 18 U.S.C:

“Between on or about June 3, 1997, and on or about July 5, 1997, in the County ofNewaygo,

in the Southern Division of the Western District ofMichigan, Marvin Charles Gabrion ll did,

after deliberation, premeditation and malice aforethought, willfully kill Rachel Timmerman

within the special maritime and territorial jurisdiction of the United States by drowning her

in Oxford Lake, which lies within the Manistee National Forest.” - Gabrion, supra. at 842.

The foregoing, once again, illustrates the need for the government to allege juris diction when
charging under Section l 114. ln Mr. Hinkson’s case, no such territorial jurisdiction was ever alleged
much less proven.

7. STATEMENT OF THE CASE REGARDING JURISDICTION

MAXll\/I l: The indictments were consistent with prevailing DOJ procedure, but did not allege

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territorial jurisdiction

On June 22, 2004 a Federal Grand Jury indicted Mr. Hinkson for Solicitation of Murder
related to three Federal Officials (Dkt #l). There was a superseding indictment (Dkt #37) dated
September 21, 2004 which charged the same crimes in exactly the same language as the original.
Both the original and the superseding indictments were constructed in a manner consistent with the
U.S. Attorney’s Manual.3

Surely if the grand jury recognized the territorial nature of the alleged crime(s)4 the
indictment would have said so. When 18 U.S.C. § l 114 is tied to its dependent sections, 1 11 1, l 112
and 1113 there is jurisdiction only if the crime occurred within the special maritime and
territorial jurisdiction of the United States, and only then can the Federal government prosecute.
MAXll\/l 2: Territorial jurisdiction was not mentioned in either indictment

A failure of the grand jury to have the special maritime and territorial jurisdiction of the

United States presented as an element of the offense which is invoked under Section 1114 would,

 

3 Indictment Form - Solicitation to Commit a Crime of Violence (18 U.S.C. § 373)

On or about the __ day of _ 19 , in the District of the defendant with intent
to engage in conduct constituting a felony that has as an element the use [attempted use] [threatened use] of
physical force against the person [property] of another in violation of the laws of the United States, and under
circumstances strongly corroborative of that intent, did solicit, command, induce and endeavor to persuade, to
engage in such conduct, that is, [describe crime, e.g., to murder an officer of the United States in violation of
Title 18, United States Code, Section 1114], in violation ofTitle 18, United States Code, Section 373. -Fer
the US Attorneys Manualj Title 9. Criminal Resource Manual, Section 1085.

4 A failure of the government to have presented evidence that the alleged crimes were perpetrated within federal
jurisdiction is a fatal defect to the validity of the grand jury’s indictment “In this appeal, Mr. Prentiss raises the
following six arguments: (1) the district court lacked subject matter jurisdiction because the government failed to allege
or establish, as a prerequisite to federal jurisdiction, ” - U.S. v. Prentiss, 206 F.3d 960 (10‘h Cir., 2000) conviction
overturned on that ground.

“The Hilderbrand indictment cited only 18 U.S.C. § llll, which merely defines the types of murder. The
indictment alleged that the crime took place on an Indian reservation, but did not allege that the crime took place by an
Indian against an Indian. In addition, the indictment failed to cite to any statute other than the general murder statute.
Thus, we ordered the dismissal of the indictment as insufficient.” - U.S. v. James, 980 F.2d 1314 (C.A.9 (Wash.), 1992).

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by itself, invalidate the entire indictment, In both Rus.s'ell, supra and Hamling v. United States, 418
U.S. 87, 94 S.Ct. 2887, 41 L.Ed.2d 590 (1974), the Supreme Court held that in order to be sufficient
an indictment must contain the elements of the offense and apprise the defendant of the nature of the
charge.

The inclusion of all elements also derives from the Fifth Amendment, which requires that

the grand jury have considered and found all elements to be present.... But even if we were

to assume that this notice emanated from the indictment, (an assumption not justified under
the authorities in our opinion) we would still be left with a document that did not contain any
part of one element of the offense, and thus did not satisfy the Fif`th Amendment requirement

that all elements of the offense have been considered and found by the grand jury. ~ U.S. v.

Hooker, 841 F.2d 1225, 1230 (C.A.4 (Va.), 1988); See Stirone v. United States, 361 U.S.

212, 80 S.Ct. 270, 4 L.Ed.2d 252 (1960) regarding the crucial question of whether he was

convicted of an offense not charged in the indictment

The missing element in this instant matter against Mr. Hinkson was an allegation that the
crime was committed “within the special territorial and maritime jurisdiction of the United States”
but which was never alleged much less established; IN FACT, THE CONTRARY WAS
ESTABLISHED.

Rule 7(c)(1) of the Federal Rules of Criminal Procedure provides, inter alia, “[t]he indictment
shall be a plain, concise and definite written statement of the essential facts constituting the
offense charged.” Under this Rule “it is still essential that every element of an offense be stated and
that the defendant be given fair notice of the charge against him....” 1 Charles A. Wright, F ederal
Practice and Procedure: Criminal § 123, at 348 (2d ed. 1982) (footnote omitted); see United States
v. Seeger, 303 F.2d 478, 482 (2d Cir.l962). The purpose of this requirement is to give a defendant
adequate notice of the charges under the facts and to permit him to plead former jeopardy upon
prosecution and to enable him to prepare a defense. United States v. Carrier, 672 F.2d 300, 303 (2d

Cir.), cert. denied, 457 U.S. 1139 (1982).

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MAXll\/l 3: The indictments charged a violation of TWO code sections in each count.

The original and superseding indictments charged Mr. Hinkson with eleven (11) counts of
federal law violations under two different sections of the U.S. Code (18 U.S.C. §11 14 and 18 U.S.C.
§373).

MAX]M 4: One code section required proof of acts that were not established at trial.

Section 1114 requires that either murder, or manslaughter, or attempted murder or
manslaughter, must have occurred in order to invoke the jurisdiction of the Court. lt was not proven
at trial that Mr. Hinkson murdered, manslaughtered or attempted to murder anyone, much less a
federal official.

Section 1114 of Title 18 reads as follows:

Whoever kills or attempts to kill any officer or employee of the United States or of
any agency in any branch of the United States Government (including any member
of the uniformed services) while such officer or employee is engaged in or on
account of the performance of official duties, or any person assisting such an officer
or employee in the performance of such duties or on account of that assistance, shall
be punished - (1) in the case of murder, as provided under Section 1111; (2) in the
case of manslaughter, as provided under Section 1 1 12; or (3) in the case of attempted
murder or manslaughter, as provided in Section 1113.

Note: Section 1 1 14 makes reference to at least one of three statutes: §§ l 11 1, ll 12 or 1 1 13,
and to this extent Section 1114 is dependent for enforcement upon at least one of those sections.
Thus, the government in charging, and the trial court in attempting to apply the law, are required to
find that one of these dependent statutes were violated.

Under the US Code, “murder” is defined as:

18 U.S.C. § 1111. Murder

(a) Murder is the unlawful killing of a human being with malice aforethought, Every
murder perpetrated by poison, lying in wait, or any other kind of willful, deliberate,

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malicious, and premeditated killing; or committed in the perpetration of, or attempt
to perpetrate, any arson, escape, murder, kidnapping, treason, espionage, sabotage,
aggravated sexual abuse or sexual abuse, child abuse, burglary, or robbery; or
perpetrated as part of a pattern or practice of assault or torture against a child or
children; or perpetrated from a premeditated design unlawfully and maliciously to
effect the death of any human being other than him who is killed, is murder in the
first degree. Any other murder is murder in the second degree.

(b) Within the special maritime and territorial jurisdiction of the United States.
[bolding added]

and “manslaughter” is defined as:
18 U.S.C. § 1112. Manslaughter
(a) Manslaughter is the unlawful killing of a human being without malice. lt is of two
kinds: Voluntary ~ Upon a sudden quarrel or heat of passion lnvoluntary _ ln the
commission of an unlawful act not amounting to a felony, or in the commission in
an unlawful manner, or without due caution and circumspection, of a lawful act
which might produce death.
(b) Within the special maritime and territorial jurisdiction of the United States.
[bolding added]
The evidence in this case proves that neither murder nor manslaughter occurred. ln such
event Section 1114 has a third altemative, “attempt”; attempt requires that 18 U.S.C. §1113 be
applied. When Section 1113 is applied, it provides that there is a fixed territorial scope of` its

purview which is:

“... whoever, within the special maritime and territorial jurisdiction of the United
States...”

MAXll\/l 5: All three dependent code sections ( §§ llll, 1112 & 1113) require proof that the
crime occurred within the territorial jurisdiction of the United States.

ln order for Section 1113, the attempt statute, (or 1111, the murder statute, or 1112, the

manslaughter statute) to apply, the actor must have been within the “special maritime and territorial

jurisdiction of the United States " which was not the case with Mr. Hinkson. Eight of the original

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eleven (l 1) counts were dismissed after the 2005 trial and Mr. Hinkson stood convicted of only three

counts, (counts 7, 8 & 9) known herein as the “Swisher Counts.” 5

MAXll\/l 6: Territorial jurisdiction was an essential element of the crime as alleged in countsl

8&9.

The federal constitutional right to due process of law requires that the State prove beyond a
reasonable doubt every fact necessary for a criminal conviction In re Winship, 3 97 U.S. 3 5 8 (1970).

* * * Trial judges are kept busy responding to motions, objections and requests by the
litigants. lt is quite wrong, however, to assume that a judge is nothing more than a referee whose
authority is limited to granting or denying motions advancedby the parties. As Learned Hand tersely
noted, a ‘judge, at least in a federal court, is more than a moderator; he is affirmatively charged with
securing a fair tri al, and he must intervene sua sp onte to that end, when necessary. ’ Brown v. Walter,
62 F. 2d 798, 799 (CA2 1933). That duty encompasses not only the avoidance of error before it
occurs, but the correction of error that may have occurred earlier in a proceeding.”“ - Carlisle v.
U.S., 517 U.S. 416, 116 S.Ct. 1460, 134 L.Ed.2d 613 (1996) at pg 437.

Counts 7-9 inclusive as set forth in the exact language of the Swisher Counts, all charged Mr.
Hinkson with a crime “in violation of l 8 U.S. C. §1114,' in violation of 1 8 U.S. C. § 3 73. " There is
no escaping the fact that the government charged Mr. Hinkson With a violation of Section 1114 of
Title 18, which necessarily brings up the dependent statutory Sections 1 1 1 1, 1 1 12 and 1 1 13. ln order

to prove a violation of Section 1114, one of the elements of the government’s case was that Mr.

 

5 Counts 7, 8 and 9 of the Superseding Indictment are exactly the same except as to the name of the alleged victim
and each reads the same, in relevant part, as follows: “Between about December 2002 and January 2003, the precise
date being unknown to the grand jury, in the District of ldaho, the defendant, DAVID ROLAND HINKSON, with the
intent that EJS [Elven Joe Swisher] engage in conduct constituting a felony that has as an element the use of physical
force against the person of another in violation of the laws of the United States, and under circumstances strongly
corroborative of that intent, did solicit, command, induce and endeavor to persuade EJS to engage in such conduct,
in violation of Title 18, United States Code, Section 1114; in violation of Title 18, United States Code, Section 373.

6 * * * The basic principle has been stated many times. There is a “power `inherent in every court of justice so
long as it retains control of the subject matter and of the parties, to correct that which has been wrongfully done by virtue
of its process.’ Arkadelphia Co. v. St. Louis Southwestern Ry. Co., 249 U. S. 134, 146. See Northwestern Fuel Co. v.
Brock, 139 U. S. 216, 219.’ United States v. Morgan, 307 U. S. 183, 197 ( 193 9). Although that statement was made
in a civil case, we have made it clear that a federal court has even broader discretion to notice error independently in the
trial of a criminal case than in civil cases. Crawford v. United States, 212 U. S. 183, 194 (1909).” - Carlisle v. U.S.

at 437

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Hinkson was “within the special and maritime territorial jurisdiction of the United States” when
the law violation occurred. This nexus of subj ect matter jurisdiction was required both at the grand
jury and at trial.
MAXll\/l 7: Territorial jurisdiction was not alleged or proven by the government

The trial record shows that the government failed to prove or even allege that Mr. Hinkson
was Within the special maritime and territorial jurisdiction of the United States; and the indictment
shows that no such element was alleged. ln order for Section 1114 to apply, an actual murder,
manslaughter, or attempted murder or manslaughter must have occurred. Each of these crimes
requires that the perpetrator have been “within the special maritime and territorial jurisdiction of
the United States ln addition, each of the Swisher Counts failed to allege such territorial
jurisdictional element which was the necessary predicate for invoking 18 U.S.C. § 1 1 14. Therefore,
as alleged in the indictment, it is impossible for Section 1114 to stand alone; impossible for § 1114
to support § 373 without further delineation from one of its dependent sections. Thus, 18 U.S.C.
§ 373 has no effect without the support of § 1113 in this instant case.
8. ANALYSIS

The “evidence” presented to the grand jury, the allegations in the charging instrument, and
the “proof” 7 presented at trial, was that there was a solicitation for murder of three Federal officials.
There was no evidence presented to the grand jury, nor to the petit jury at trial of any territorial
jurisdictional nexus with Section 1114 of title 18 United States Code. See the transcript and

complete record of the proceeding which are incorporated in their entirety herein by this reference

 

7 Said so-called proof being highly suspect as one Hinkson juror has affirmed: “Ifl had known that Swisher was
a fraudulent military combat hero l would never have voted to convict Mr. Hinkson.” See affidavit of juror Ben Casey.

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as if they were fully set forth herein

The relevant language of 18 U.S.C. Section 1113 reads as follows:

§ 1113. Attempt to commit murder or manslaughter “Except as provided in
Section 113 of this title, whoever, within the special maritime and territorial
jurisdiction of the United States, attempts to commit murder or manslaughter,
shall, for an attempt to commit murder be imprisoned not more than twenty
years or fined under this title, or both, and for an attempt to commit
manslaughter be imprisoned not more than seven years or fined under this
title, or both. - 18 U.S. C. § 1113. [Underlining added]

Note the statutory jurisdictional language: “within the special maritime and territorial

jurisdiction of the United States” is present in three of the five statutes in question (see sections

1111, 1112, & 1113) and that language is incorporated into the fourth and fifth statutes, being
Sections 373 and 1114 of Title 18 U.S.C. Such language establishes a mandatory factual element
of Mr. Hinkson’s case and makes it clear that the criminal act must have been committed “within
the special and maritime territorial jurisdiction of the United States " or there was no jurisdiction
to prosecute, try, convict and sentence Mr. Hinkson.

The government having charged Mr. Hinkson with multiple violations of Section 1114 U
multiple violations of Section 373 of Title 18 United States Code in the various counts in the
Superseding Indictment, must have believed that under Section 1114 the “attempt”, from Section
1113, was the solicitation as described in Section 373.

MAXIM 8a: Solicitation is dependent upon other statutes to create a sufficient allegation of a

complete crime AND the case fails when it is not alleged.8

lf solicitation I._S‘ considered the act which constitutes an “attempt” to commit murder

 

8 Hence the US Attomey’s Manual suggested language for the indictment wherein both Sections 373 and 1114
are included to insure that a crime has actually been charged.

Memorandum in Support of Hinkson 2255
Ground Five: Lack of Jurisdiction -14-

(pursuant to Section l 113), then the government’s case against Mr. Hinkson under Section 373 fails
because it did not allege or prove territorial jurisdiction pursuant to Section 1114 which depends
upon Section 1113 in order to define the crime of “attempt”.

Or alternatively:
MAXIM 8b: Where an indictment and trial proof do not match, the case fails.

lf solicitation of murder IS NOT considered conduct which constitutes an “attempt” to
murder under Section 373, then the government’s case fails for two reasons: 1) it failed to actually
prosecute Section 1114 as charged in the indictment; and 2) it failed to allege or prove territorial
jurisdiction pursuant to Section 1114.
MAXIM 9: Territorial jurisdiction is specified in a US Code definition

At this point, an examination of the mandatory language: “within the special maritime and
territorial jurisdiction of the United States " is necessary as these words define and limit the relevant
jurisdictional authority of the US Government to prosecute and the court to adjudicate under Section
1114 (with its dependent code Sections, 1111, 1112 and 1113).

The United States Attorneys Manual, published by the US Department of Justice and used
mandatorily by all US Attorneys recognizes territorial jurisdiction as a requisite element of the
crime and it states that:

“The term ‘ special maritime and territorial jurisdiction of the United States is defined in eight
subsections of 18 U.S.C. § 7.”

This court is hereby requested to take judicial notice of the US Attorney’s manual
(Fed.R.Evid 201) which can be viewed and reviewed many places including several on the lnternet,

one of which is at: http://wWw.justice.gov/usao/eousa/foia reading room/usain/.

Memorandum in Support of Hinkson 2255
Ground Five: Lack of Jurisdiction ' -15-

 

The manual continues:

“These subsections relate to maritime jurisdiction, 18 U.S.C. § 7(1), 7(2); lands and

buildings, 18 U.S.C. § 7(3); Guano lslands, 18 U.S.C. § 7(4); aircraft, 18 U.S.C. § 7(5);

spacecraft, 18 U.S.C. § 7(6); places outside the jurisdiction of any nation, 18 U.S.C. § 7(7);

and foreign vessels en route to and from the United States, 18 U.S.C. § 7(8). - USAttorneys

Manual Title 9, Criminal Resource Manual Section 663 .

Title 18 U.S.C. § 7 contains the ONLY definition of the “special maritime and territorial
jurisdiction of the United States” for Title 18 purposes. Section 7 of Title 18 clearly defines the
scope of the special maritime and territorial jurisdiction of federal courts, which is not where the
crimes in this case occurred. The record of the case proves conclusively that Mr. Hinkson was in
ldaho County, ldaho at or near his home and factory close to Grangeville, when the alleged acts
occurred giving rise to the indictment Because Grangeville, ldaho (and its surrounding areas) are
not “within the special maritime and territorial jurisdiction of the United States”, there was, and
is, no jurisdictional nexus for the government to have charged Mr. Hinkson or for the court to have
heard the case, entered a conviction and imposed a sentence.9

As the United States Supreme Court held in the Bond v United States 1° case: State law
trumps federal law when crimes could have been charged under state law according to the Ninth and

Tenth Amendments to the United States Constitution, as the jurisdiction involves matters within the

purview of state powers. ln Bond the Defendant was held to have standing to challenge the federal

 

9 And neither were w of Mr. Hinkson’s accusers within such special jurisdiction when the alleged solicitation(s)
occurred; like Elven Joe Swisher, who was subsequently convicted ofperjury, fraud and theft of V.A. benefits, and the
unauthorized wearing of a Purple Heart and other medals, all a part of a scheme to portray himself as a decorated combat
veteran in aid of his application for V.A. benefits that defrauded the U.S. Government of a substantial amount of money.
Ironically, the same lies as told to the V.A. for which Swisher was criminally prosecuted, were used by him in the
Hinkson case in order to gain the unassailable credibility of a wounded combat hero when he was presented as a witness
to the Hinkson’s jury,

10 Bond v United States, No. 09-1227, SUPREME COURT OF THE UNlTED STATES, October Term, 2010,
Decided June 16, 2011

Memorandum in Support of Hinkson 2255
Ground Five: Lack of Jurisdiction -16-

statute regarding caustic substances on the grounds that the measure interfered with the powers
reserved to States to regulate crimes related to bodily injury to others. ln this matter, Mr. Hinkson
has the right to challenge the lack of jurisdiction where a state would preempt the prosecution of that
crime under state law, pursuant to Bond.

Here, Mr. Hinkson is directly challenging the authority of the federal government to have
prosecuted him when the state of ldaho has the primary responsibility for such matters as murder,
manslaughter, and the attempt thereof n for all the reasons cited in Bond. ln addition, the
prosecution stated no federal territory jurisdictional basis that would justify an indictment by a
federal grand jury, or adjudication by the trial court, or support a verdict and sentence, because of
the lack of proof of federal territorial jurisdiction, i.e., jurisdiction specifically delineated by
Congress. As with Bond, the state of ldaho had full prosecutorial authority, and still does for that
matter, and the federal government has none.

Since there is no jurisdictional nexus between the federal government and Mr. Hinkson vis-a-
vis Section 1114 of Title 18, and its dependent Sections, 1111, 1112 and 1113, which would bring
him within the prosecutorial purview of the federal government; no amount of rationalizing,
concocting, fabricating, niisconstruing of law or facts, or petty intellectual dishonesty can deem it
otherwise.

For these reasons, the court lacked original jurisdiction to hear the charges brought by the
government and the court lacked subject matter jurisdiction ab initio, to enter the judgment of

conviction and sentence. See United States v. Allied Towing Corp., 602 F. 2d 612, (4'h Cir. 1979);

 

11 Idaho State Code Sections I.C. §18-4001, et seq.

Memorandum in Support of Hinkson 2255
Ground Five: Lack of Jurisdiction -17-

 

and United States v. Cordova, 89 F. Supp. 298 (ED New York 1950). See also United States v.
Lopez, 514 U.S. 549 (1995) 115 S.Ct. 1624; and Schechter Corp. v. United States, 295 U.S. 495
(1935) 55 S.Ct. 837) for discussions of the necessity of a finding that the crime occurred within the
jurisdiction (i.e. in this instant matter, “within the special maritime and territorial jurisdiction of the
United States " pursuant to 18 U.S.C. § 7) in order for the federal government to have prosecutorial
authority. See U.S. v. Corey, 232 F.3d 1166 (9th Cir., 2000) for an in-depth examination of the
restrictions on jurisdiction outside the “special maritime and territorial jurisdiction of the United
States ”; see also U.S. v. Neil, 312 F.3d419 (9‘h Cir., 2002); UnitedStates v. Ross, 439 F.2d 1355 (9"'
Cir., 1971); U.S. v. Hayden, 260 F.3d 1062 (9'h Cir., 2001); U.S. v. Gavin, 959 F.2d 788 (C.A.9
(Hawai’i), 1992); U.S. v. Begay, 42 F.3d 486 (C.A.9 (Ariz.), 1994); U.S. v. Lewellyn, 481 F.3d 695
(9th Cir., 2007); U.S. v. Gourde, 440 F.3d 1065 (9th Cir., 2006); U.S. v. Lilly, 512 F.2d 1259 (C.A.9
(Mont.), 1975).

lt is noteworthy that certain crimes were made punishable by the United States if committed
“within the special maritime and territorial jurisdiction of the United States”: United States v.
Sharpnack, 355 U.S. 286, 78 S.Ct. 291, 2 L.Ed.2d 282 (1958) at fn 5. Also see U.S. v. Warren, 984
F.2d 325 (C.A.9 (Hawai’i), 1993) -the the locus of a crime is an element to be proven at trial.

Here, at best, we are dealing with a government prosecution of a violation of § 1114 (Dkt
#37) under a solicitation statute ,18 U.S.C. § 373, for acts clearly outside the territorial boundaries
of the U.S. Section 1113. That the government has chosen to construe § 373 as meeting the
requirements of an “attempt” under § 1114 and its dependent section § 1113, does not confer
authority to prosecute or sentence when the alleged crime took place outside of the “special
maritime and territorial jurisdiction of the U.S”. Only Section 1113 confers authority to prosecute

Memorandum in Support of Hinkson 2255
Ground Five: Lack of Jurisdiction -18-

 

for an “attempt to murder” and, thus, to enter judgment and sentence, however, the jurisdictional
element in Section 1113 must be both pled and proven 18 U.S.C. § 1113 limits the government’s
and the court’s authority to proceed to one who was “within the special maritime and territorial
jurisdiction of the United States. ” Defendant Hinkson was not, at the time of the alleged acts,
“within such territorial jurisdiction ”, therefore the conviction must be reversed, the sentence
vacated and the Superseding Indictment must be dismissed

Defendant anticipates that the government’s argument will be to the effect that the charge
was levied under 18 U.S.C. § 373 and not under 18 U.S.C. § 1113. But this argument will fail
because the charged statute (§373) is paired with § 1 l 14 that is dependent on another statute (§1 l 13)
and requires the addition of another provision to implement a sentence. Thus, the dependent statute,
§ 1 1 13, does, in fact, require compliance with the jurisdictional element of the included or imbedded
statute.

At the very least the sentence and the judgment entered12 in this case were actually predicated
solely on 18 U.S.C. § 373, and the territorial element in Section 1114 was disregarded This fact
alone negates jurisdiction because the charging statute and charging instrument must be completely
harmonized from indictment to entry of judgment and sentence, or they are void and without effect.
Section 373 does not, by itself, given the wording of the Hinkson indictment, contain the authority
to enter a sentence absent consideration of 18 U.S.C. §1114 with its dependent § 1113, as stated in
§ 1114 and in the Superseding Indictment

MAX[M 101 The territorial locus must be alleged to prove jurisdiction

 

12 see Dkt #s 266 & 267

Memorandum in Support of Hinkson 2255
Ground Five: Lack of Jurisdiction -19-

 

The charging instrument failed to convey jurisdiction upon the government to prosecute and
upon the court to adjudicate this case because jurisdiction was not alleged and cannot be inferred
from Within the four-corners of the indictment Ergo, the indictment fails, the prosecution fails and
the subsequent entry of judgment fails for lack of jurisdiction

For these reasons, the entry of judgment and sentence against Mr. David Hinkson must be

vacated and the indictment dismissed

Memorandum in Support of Hinkson 2255
Ground Five: Lack of Jurisdiction -20-

 

David R. Hinkson, #08795-023
USP Atwater

U.S. Penitentiary

P.O. Box 019001

Atwater, Califomia 95301

ln Propria Persona

UNlTED STATES DlSTRlCT COURT DlSTRlCT OF lDAHO

UNlTED STATES OF AMERICA Case #: 1:04-cr-00127-RCT-1

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)
)
) DEFENDANT HiNKsoN’s
vs ) MEMoRANDUi\/i iN sUPPoRT or

) GROUND six; JURY AND JURoR
David R. Hinkson, ) MiscoNDUCT, As is HEREBY

) APPENDED To HiNi<soN’s MoTioN To

Defendant ) vACATE THE CoNviCTioN AND

) sENTENCE UNDER sECTioN 2255, TiTLE
) 28 USC

Plaintiff,

COMES NOW David R. Hinkson, by and through his own hand and hereby submits this
MEMORANDUM REGARDING GROUND Sle JURY AND JUROR MISCONDUCT, lN
SUPPORT OF MOTION TO VACATE CONVICTION AND SENTENCE UNDER 28 U.S.C.
§2255.

For the reasons set forth below in this Memorandum ln Support of Defendant Hinson’s
Motion to Vacate the Conviction and Sentence under 28 U.S.C. §2255 the conviction and

judgment must be vacated and the indictment dismissed

Memorandum in Support of Hinkson 2255
Ground Six: Juiy and Juror Misconduct

 

JURORS DISCUSSED THE CASE BEFORE CHARGING
1. On page 103 6, lines 13-20, of the trial transcript it is seen that the Jury had given a note to
the Judge. That note reads as follows:
“Your Honor, l don’t know if this is allowed for me to ask; but can
Mr. Swisher be asked about the mental capacity of Mr. Hinkson?
Did he do a clinical evaluation of Mr. Hinkson? ls David Hinkson
on medication? ls Mr. Hinkson mentally ill? Are we or are we
not supposed to consider his mental capacity?”
2. This note was written using the word “we” which reasonably means that more than one
juror contributed to its authorship although the note was handed to the court personnel by
Ms. Claudia Hanes.
3. This note implicates that two or more jurors had not only discussed the case but had
determined that l was guilty and were ready to move onto the insanity portion of the case,
4. An evidentiary hearing is needed where jurors can be subpoenaed and the necessary
evidence gathered to determine the source of this early determination contrary to the

Court’s Specific admonition not to discuss the case or consider any outside information

5. This is proof of juror misconduct which needs to be developed in discovery with an
expanded record
6. lt is absolutely impermissible for a juror to consider either matters outside of what has

been presented in court, it is equally impermissible for a juror to be considering such facts
prior to the close of evidence.

7. The jury had thus indicated by that note that they considered Swisher an authority on the
psychiatric condition of the defendant and wanted his additional input When he was not
offered as an expert in psychological matters.

8. The point here is that .ludge Tallman, if he had been acting as a neutral trial court judge,

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Memorandum in Support of Hinkson 2255
Ground Six: Jury and Juror Misconduct

 

10.

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rather than as an extension of the prosecution, should have, sua sponte, declared a
mistrial at that moment as a result of manifest juror misconduct: i.e., the jury had not
followed Judge Tallman’S instructions and were discussing the case among themselves
and had deliberated and made a decision These facts by themselves are grounds to
vacate the conviction and sentence.

After the trial, attorney Hoyt met with juror Hanes and learned that she was interested in
the law and psychology and consulted information on these subjects to help her formulate
her opinions. (See EXHIBIT F-l, Affidavit of Wesley W. Hoyt attached.)

ln that conference with juror Hanes, Mr. Hoyt learned that she knew and Was in
communication With Judge Edward Lodge’s wife, an ldaho State Senator whom she
supported, but that she did not disclose that information in Voir Dire Examination. (ld.)
The question is, to what extent was she influenced in her decision as a juror by her prior
acquaintanceship with Mrs. Lodge.

Also, a question arises whether she consulted any texts regarding the law or mental health
during this trial contrary to the admonition of the Court.

Because this juror note sent to the court questioning whether they should be considering
the mental state of Hinkson which was not in issue, it is evident that the jury Was both
illegally discussing the trial before the close of evidence and argument, AND it was
considered allegations not even presented At the time the jury sent the aforementioned
note to the court, there had been no discussion of Hinkson’s mental state or possible
diagnose of same.

There are other issues involving juror misconduct that arise from the record and Will be
shown in discovery if permitted

THEREFORE, for the foregoing, the conviction and sentence of the defendant should be

vacated forthwith.

Memorandum in Support of Hinkson 2255
Ground Six: Jury and Juror Misconduct

 

